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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                        :
CHARLES WILLIAMS,                                       :
                                                        :      Case No. 1:21-cv-02955
                       Plaintiff,                       :
                                                        :
               v.                                       :
                                                        :
TILRAY, INC., BRENDAN KENNEDY,                          :
CHRISTINE ST. CLARE, REBEKAH DOPP,                      :
SOREN SCHRODER, and MICHAEL                             :
AUERBACH,                                               :
                                                        :
                       Defendants.                      :
                                                        :

                           NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff Charles Williams (“Plaintiff”) voluntarily dismisses the claims in the captioned action

(the “Action”). Because this notice of dismissal is being filed with the Court before service by

defendants of either an answer or a motion for summary judgment, Plaintiff’s dismissal of the

Action is effective upon the filing of this notice.

 Dated: May 11, 2021                                  WEISSLAW LLP

                                                      By: /s/ Richard A. Acoccelli
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